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 Attorneys for Safety National Casualty Corporation

                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF NEW JERSEY
 --------------------------------------------------------------x
                                                               :
      In re                                                    :        Chapter 11
                                                               :
      BED BATH & BEYOND INC., et al.,                          :        Case No. 23-13359 (VFP)
                                                               :
                             1
                   Debtors.                                    :        (Jointly Administered)
                                                               :
                                                               :        Hearing Date: 5/7/2024 at 10:00 a.m.
 --------------------------------------------------------------x

    SAFETY NATIONAL CASUALTY CORPORATION’S JOINDER TO PLAN
 ADMINISTRATOR’S SUPPLEMENTAL OPPOSITION TO AMENDED MOTION FOR
                   RELIEF FROM AUTOMATIC STAY

           Safety National Casualty Corporation (“Safety National”), by and through the

 undersigned counsel, hereby joins in the Plan Administrator’s Supplemental Opposition to

 Amended Motion for Relief From Automatic Stay (Dkt. 2987) (the “Objection”) to the Amended


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  The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of the
 Debtors in these Chapter 11 Cases and each such Debtor’s tax identification number may be obtained on the website
 of the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The location of Debtor
 Bed Bath & Beyond Inc.’s principal place of business and the Debtors’ service address in these Chapter 11 Cases is
 650 Liberty Avenue, Union, New Jersey 07083.

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 Motion for Relief from the Automatic Stay Pursuant to 11 U.S.C. § 362 and Request for Waiver of

 14 Day Stay Imposed by Bankruptcy Rule 4001(a)(3) [Docket No. 2723] (the “Motion”) filed by

 Penelope and Joseph Duczkowski (“Movants”). In support of this Joinder, Safety National states

 as follow:

        1.      Safety National hereby joins in and incorporates herein by reference the relevant

 arguments in the Objection that relief from the Plan Injunction should be denied as there is no

 likely no insurance for Movant’s – and no payment from Debtors will reach the SIR limit.

        2.      Safety National reserves any and all rights to supplement and/or amend this Joinder

 and expressly reserves the right to raise any additional objections with respect to the Motion and

 objects to the relief requested and/or such relief that may subsequently be sought by the Debtors

 and/or any other party, as such requested relief relates to the Motion and/or the interest of Safety

 National.

        3.      Moreover, as of the filing of this Joinder, no proposed stipulation has been filed on

 the docket as to the Motion. Safety National objects to any proposed order that attempts to modify

 the rights or defenses held by Safety National under the Safety National any applicable insurance

 policy or contractual agreements between the Debtors and Safety National, the Bankruptcy Code,

 or other applicable law. Accordingly, Safety National hereby expressly reserves all of it rights,

 claims, counterclaims, defenses, and remedies under the Bankruptcy Code, its insurance policy,

 any applicable contractual agreements between the Debtors and Safety National, and other

 applicable law.



                           [ Remainder of Page Left Intentionally Blank ]




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 Dated: April 24, 2024                      Respectfully Submitted,
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this the 24th day of April, 2024, a true and correct copy of Safety
 National’s Joinder has been electronically filed with the Court via the CM/ECF system and will
 be served by electronic means through the CM/ECF system to the below and to all registered
 CM/ECF participants.

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